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to have been taken in front of St. Patrick’s Catholic Church, located at 619 10th Street NW (Image
1). The metadata for these images indicates they were taken at approximately 12:25 p.m. on
January 6, 2021.

I have compared the features of the individual depicted in the images uploaded to ACCOUNT 2,
with BATES’s drivers license photograph, which was obtained by the FBI f
                                                                image depicted BATES’s full face,
including a distinctive reddish-brown beard that extends to his chest.

As seen in Image 1 below, a reddish-brown bearded person who I identify as BATES is depicted
holding an American flag and wearing: a black beanie hat with blue bottom trimming; a digital
woodland camouflage pattern top with the logo of the Washington Capitals professional hockey
team on the chest, the National Hockey League logo at the collar, and the letters “Reeb” visible on
upper left chest area; brown and black tactical gloves; grey pants; and red and black lace-up
running shoes. BATES is also depicted wearing two straps over his shoulders that suggest he is
wearing a backpack or bag on his back and is displaying a handsign commonly associated with the
Proud Boys with his right hand.
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(“REEB”) seen in Image 1 above. The individual resembling BATES is identified in Images 8
and 9 using a red circle.




                                                                                  Image 9



The front and back of the red baseball cap worn by the person resembling BATES matches a red
Washington Capitals professional hockey team baseball cap worn by BATES in numerous photos
uploaded to ACCOUNT 2 and obtained via the Google search warrant executed in June 2021,
including photos of BATES taken, according to their metadata, on January 3, 2021 (Image 10),
January 5, 2021 (Image 11) and January 16, 2021 (Image 12), both before and after the events of
January 6, 2021.
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                                  G. Michael Digitally signed
                                             by G. Michael
                                  Harvey     Harvey
